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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF ARKANSAS
                              TEXARKANA DIVISION

JOHN C. WALKER                                                                        PLAINTIFF

v.                                Case No. 4:14-cv-04055-SOH

TA OPERATING LLC d/b/a
PETRO STOPPING CENTERS                                                             DEFENDANT

            BRIEF IN SUPPORT OF DEFENDANT’S MOTION TO COMPEL
                DISCOVERY FROM PLAINTIFF JOHN C. WALKER

       Defendant TA Operating LLC d/b/a Petro Stopping Centers (“Defendant” or “TA”)

submits this brief in support of its Motion to Compel complete and responsive answers to

interrogatories and responses to requests for production of documents from Plaintiff John C.

Walker. Plaintiff has failed to adequately respond to TA’s written discovery requests by lodging

misplaced objections and by refusing to disclose information directly relevant to his claims.

Further, Plaintiff has failed to engage TA in its attempts to resolve this dispute without the

Court’s intervention. Although TA has made several good faith attempts to confer with

Plaintiff’s counsel to resolve these discovery matters, Plaintiff’s counsel has essentially ignored

each of TA’s requests, and TA is unable to resolve the disagreement without the intervention of

the Court. Because Plaintiff has failed to provide complete and responsive answers and responses

to Defendant’s discovery requests, the Court’s assistance is regrettably required so that discovery

in this case may continue without further delay. TA requests that the Court enter an Order

compelling Walker to supplement his discovery responses and document production as follows.

I.     BACKGROUND

       This is a constructive discharge and racial harassment case. Plaintiff Walker alleges that

he was subjected to unwelcome harassment based on his race during his short employment with
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TA. Walker claims that he saw what he thought was rope fashioned into a small noose in a

stockroom and, on one other occasion, he heard a co-worker make noises that he considered to

be “monkey sounds.” 1 Walker alleges that these incidents made him feel “threatened” and that he

resigned on February 6, 2012. 2

          Walker filed his Complaint on April 7, 2014. On December 19, 2014, TA served Walker

with its First Set of Interrogatories and Requests for Production of Documents. 3 Although

Walker responded to TA’s written discovery requests on January 21, 2015, his answers and

responses were incomplete, he failed to verify his interrogatory answers, and he lodged

numerous misplaced objections. 4

          As a result, on February 2, 2015, counsel for TA wrote a good-faith letter to counsel for

Plaintiff, requesting that Plaintiff provide more complete answers and responses. 5 The letter

outlined each discovery deficiency. After receiving no response to the letter, TA’s counsel

followed up with an email on February 10, asking for a response by the end of the week, but

offering additional time if Plaintiff’s counsel needed it. 6 Plaintiff’s counsel responded on

February 12, stating only that he needed more time. No time estimate was given, and no response

to the letter was forthcoming. TA’s counsel emailed again on February 19, suggesting that a

phone call would be a better way to resolve the parties’ discovery issues and asking when




1
    See Complaint [Doc. No. 1], ¶¶ 13-32.
2
    See id., ¶ 32.
3
    See Exhibit A (TA’s First Set of Interrogatories and Requests for Production).
4
  See Exhibit B (Walker’s Response to TA’s First Set of Interrogatories and Requests for
Production).
5
    Exhibit C (February 2 Letter).
6
    Exhibit D (February 10 Email).


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Plaintiff’s counsel was available for a call. 7 Plaintiff’s counsel responded, also on February 19,

that he had a jury trial coming up on March 2 and he was “not sure” when he could schedule a

call, but he stated he would try to address the February 2 letter over the weekend. 8 No response

came over the weekend or thereafter. TA’s counsel allowed time for Plaintiff’s counsel’s trial to

pass, but Plaintiff’s counsel has neither responded to the February 2 letter nor accepted TA's

counsel’s offer to schedule a call to discuss all outstanding discovery issues.

II.       ARGUMENT AND AUTHORITIES

          A.     Standard for motions to compel.

          Rule 37 provides for a motion to compel when a party fails to answer an interrogatory

submitted under Rule 33 or fails to produce documents under Rule 34. FED. R. CIV. P. 37(a)(3).

Further, “[f]or purposes of this subdivision (a), an evasive or incomplete disclosure, answer, or

response must be treated as a failure to disclose, answer, or respond.” FED. R. CIV. P. 37(a)(4).

Because Walker has failed to provide complete interrogatory answers under Rule 33 and has

failed to produce documents pursuant to Rule 34, an order compelling discovery is appropriate.

Thus, TA respectfully requests that the Court enter an order compelling discovery requiring

Walker to provide complete answers to interrogatories and complete responses to requests for

production of documents.

          B.     The Court should compel Walker to supplement his answers to TA’s
                 interrogatories.

          Walker responded to several of TA’s interrogatories with misplaced objections and

incomplete answers in lieu of responsive, relevant information, and he failed to verify his

answers. Walker should be compelled to provide complete, verified answers.


7
    Exhibit E (February 19 email exchange).
8
    Id.


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           First, TA’s Interrogatory No. 1 asked Plaintiff to identify individuals he thinks has

knowledge of, or information relating to, any of the facts alleged in his Complaint, and to

describe the knowledge or information that person is thought to have. 9 Walker identified 19

individuals, including himself, as potential witnesses in his response to TA’s Interrogatory No.

1. 10 For some of those witnesses, Walker has listed incomplete or inaccurate information. 11 For

example, Walker listed John Hayes’ (one of his potential witnesses) telephone number as “1-

870” (an invalid number) and his address as, simply, “Prescott, Arkansas 718570.” 12 Walker also

failed to provide the addresses for Freddie Miller, who Walker claims will “give testimony

relative to the hostile environment that the plaintiff was subjected to,” and Toni Williamson, who

Walker stated will “give testimony relative to the hostility that [Walker] faced, and the damages

that [Walker] experienced.” 13 Walker should be compelled to provide complete, accurate contact

information for each of his potential witnesses and provide full, complete, descriptive

information as to the subject matter of their anticipated testimonies. As described above, in the

weeks following TA’s requests, Walker has failed to provide any additional information about

these potential witnesses. TA therefore asks the Court to compel Walker to provide complete

information regarding the witnesses he intends to call at trial to support his claims.

           Second, TA’s Interrogatory No. 12 sought information relevant to Walker’s damages and

mitigation efforts, such as any income, unemployment insurance, or other payments Walker

9
  Exhibit A, Interrogatory No. 1 (“Identify every person you think has knowledge of, or
information relating to, any of the facts alleged in your Complaint, including, but not limited to,
knowledge relating to your allegation that you were subjected to unlawful race discrimination,
and for each such person identified, describe the knowledge or information that person is thought
to have.”).
10
     See Exhibit B, Answer to Interrogatory No. 1.
11
     See id.
12
     See id.
13
     Id.


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received since his voluntary termination from TA. 14 Yet Walker responded, “[o]bjection,

collateral source rule.” 15 The collateral source rule is an evidentiary objection, but is not a valid

basis on which to withhold discovery. Hofer v. Mack Trucks, Inc., 981 F.2d 377, 380 (8th Cir.

1992) (“Rule 26(b) clearly states that inadmissibility is no grounds for objection to discovery . . .

.”). Walker’s mitigation efforts are indeed relevant to his claim for damages. Thus, Walker’s

objection to Interrogatory No. 12 is unfounded, and the Court should compel him to provide this

information.

          Third, TA’s Interrogatory No. 16 sought details concerning electronically stored

information (ESI) at issue in the case, including the original location of the ESI, the current

location of the ESI, and any changes that have been made to the ESI. 16 According to Walker’s

Complaint allegations, he voluntarily terminated his employment due in part to an allegedly

racist text message and photo from a co-worker. 17 In addition, Walker claims to have

photographed the alleged noose on several occasions. So, in Interrogatory No. 12, TA sought

information on the message, the photos, and other ESI produced in the case. Walker responded,

“[t]he photographs are enclosed.” 18 But he produced only hard copies of photographs with his


14
  Exhibit A, Interrogatory No. 12 (“State the amount and source of all income and fringe benefits
you have received since you last worked for TA, including, but not limited to, any workers’
compensation payments, disability payments, unemployment insurance, social security or other
governmental benefits, employment from any employer, work as an independent contractor or
broker, work in a temporary position, self-employment, grants, loans, welfare payments, public
aid, benefits under private insurance policies, or support received from any other source,
including relatives.”)
15
     Exhibit B, Answer to Interrogatory No. 12.
16
  Exhibit A, Interrogatory No. 16 (“For all photos, text messages, and other electronically stored
information (“ESI”) that you mention in your Complaint or that you produce in response to these
discovery requests, identify the original location of the ESI, the current location of the ESI, and
any changes that have been made to the ESI from its original state.”).
17
     See Complaint [Doc. No. 1], ¶¶ 13-32.
18
     Exhibit B, Interrogatory No. 16.


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written responses. He has not produced any electronic copies of the photographs or text message

and has completely failed to answer Interrogatory No. 16 concerning the location of the ESI and

any changes made to it. “Electronically stored information” is expressly covered by Rules 26 and

34, and TA is entitled to know how that information has been handled since it was created. The

information requested is relevant because it goes directly to the admissibility and authenticity of

the ESI.     See generally Lorraine v. Markel Am. Ins. Co., 241 F.R.D. 534 (D. Md. 2007)

(discussing admissibility of electronic evidence).

          Nor has Walker produced the chain-of-custody tracking information for any ESI, as

requested by TA in Interrogatory No. 17. 19 Walker failed to lodge any objections to this

interrogatory and responded, simply, “[t]ext message was previously produced.” 20 But he has, in

fact, never produced the text message, either in electronic or hard-copy form. TA is entitled to

know how Walker preserved the text messages and other ESI and what he did to ensure that the

information was not altered. Since Walker is unwilling to even disclose whether any of this

information even exists, an order compelling production of the ESI, along with chain-of-custody

information, is necessary.

          Finally, Walker failed to verify his interrogatory responses. Rule 33(b)(3) states that

“[e]ach interrogatory must, to the extent it is not objected to, be answered separately and fully in

writing under oath.” (emphasis added). The signature requirement serves important objectives:

          First, interrogatory responses may be used at trial and, therefore, constitute
          testimony; when responses are only signed by an attorney, and not by the client,
          the attorney has effectively been made a witness. Second, the failure to have


19
  Exhibit A, Interrogatory No. 17 (“For all photos, text messages, and other electronically stored
information (“ESI”) that you mention in your Complaint or that you produce in response to these
discovery requests, state whether you have maintained chain of custody tracking information for
the ESI from its original location to its current location.”).
20
     Exhibit B, Answer to Interrogatory No. 17.


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          answers signed by the party undermines the summary judgment process because
          summary judgment may be based on answers to interrogatories.

Moore’s Federal Practice - Civil § 33.104 (footnotes omitted) (emphasis added). Walker served

his interrogatory responses nearly two months ago, but he still has not verified them as required

by Rule 33. The Court should therefore compel Walker to verify his interrogatory answers, and

any supplement thereto, under oath.

          C.     The Court should compel Walker to produce documents responsive to TA’s
                 Requests for Production.

          Walker’s responses to TA’s Requests for Production were similarly incomplete. First, in

several of its document requests, TA asked for electronic copies of photographs, text messages,

and other electronic communications at issue in the case. But Walker has produced no electronic

materials of any kind. TA’s Request Nos. 3, 4, 5, 6, 7, and 8 all sought the production of ESI:

      •   Request No. 3 asked for “all e-mails, text messages, and other electronic or written
          communications you sent forwarding or otherwise sharing the photos” referenced in the
          Complaint. Walker responded, “[t]hey are attached,” but in fact no such e-mails, text
          messages, or communications were attached to the written discovery responses. Nor have
          these materials been produced since then. 21

      •   Request No. 4 sought “[e]lectronic copies of any photos you took of co-workers or the
          workplace at TA, including all metadata associated with the photos,” yet Walker has
          produced no electronic photos. 22

      •   Request No. 5 asked for “all e-mails, text messages, and other electronic or written
          communications you sent forwarding or otherwise sharing any photos you took of co-
          workers or the workplace at TA.” (emphasis added). Walker responded that he did not
          take any photos of “co-worers” [sic], but ignored the remainder of the request for photos
          taken at “the workplace.” 23

      •   Request No. 6 asked for “documents memorializing or substantiating” any complaints by
          Walker to TA. Although Walker responded that he did not make any written complaints


21
     See Exhibit B, Response to Request No. 3.
22
     See id, Response to Request No. 4.
23
     See id., Response to Request No. 5.


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          (only verbal complaints), he failed to state whether he had any documents memorializing
          or substantiating his alleged verbal complaints. 24

      •   Request No. 7 sought text messages between Walker and a co-worker, Gerald Salazar.
          Walker responded, “[t]hose e-mails are attached,” yet no emails or text messages to or
          from Salazar were included in Walker’s document production. 25

      •   Request No. 8 asked for communications from Walker forwarding allegedly racist text
          messages from Salazar. Walker responded, simply, “[w]hatever e-mails that I have are
          attached,” yet he failed to indicate whether responsive documents exist. And Walker’s
          entire document production contains only one email (in hard copy form), which is not
          responsive to this request. 26

          Walker has failed to produce any electronic information to TA in response to these

requests. Nor has he produced any text messages. Although he has produced one email (which is,

in fact, not responsive to any of the above requests), he failed to produce it in electronic format.

Importantly, Walker has alleged that Salazar sent him a picture of two monkeys implying

(somehow) hostility to Walker’s race, and that Walker took photos of an alleged noose with his

phone. 27 But Walker has failed to produce any text messages or photos in original electronic

format. Thus, an order compelling the production of these items is appropriate.

          Request Nos. 28, 37, and 44 all sought documents that Walker has access to but simply

refused to produce because, as he claims, they are available through other sources. In each

instance, the possibility that this information may be available elsewhere does not relieve Walker

of his obligation to comply with his discovery obligations by producing responsive documents.

See FED. R. CIV. P. 34 (discussing production of documents within a party’s “possession,

custody, or control”); FED. R. CIV. P. 26(b)(2)(C)(i) (discussing that, for a protective order to be

appropriate, the other source must be “more convenient, less burdensome, or less expensive.”).

24
     See id, Response to Request No. 6.
25
     See Exhibit B, Response to Request No. 7.
26
     See id., Response to Request No. 8.
27
     See Complaint [Doc. No. 1], ¶¶ 13-32.


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Walker has made no showing that another source is “more convenient, less burdensome, or less

expensive.” In fact, they are not, and Walker should be compelled to produce the documents

requested.

         Request No. 28 sought documents that Walker provided to or received from the Arkansas

Department of Workforce Services. 28 Walker responded, “[t]hey are part of the unemployment

file, that can be easily obtained from said state agency.” 29 But the Arkansas Department of

Workforce Services maintains that most documents in its files are not subject to production

pursuant to the Freedom of Information Act, so TA is unable to obtain these documents on its

own. See generally Ark. Code Ann. § 11-10-314 (stating that, for the most part, unemployment

documents are “confidential and shall be protected by government privilege”). The documents

are within Mr. Walker’s “possession, custody, or control” (see FED. R. CIV. P. 34(a)(1)), and

must be produced. See also Ark. Code Ann. § 11-10-314(b)(2)(B) (stating that “any individual

or employer may be provided any information from the records of the Department of Workforce

Services to the extent that the information was provided by him or her”).

         Request No. 37 asked for documents that Walker produced to or received from the

EEOC. 30 Walker responded that “[t]hey are part of the EEOC Investigative file that can be easily

obtained.” 31 Notwithstanding TA’s ability to request these items from the EEOC pursuant to the

Freedom of Information Act, Walker still has the obligation to produce them directly to TA in

the discovery process, as he has made no showing that obtaining them from the EEOC is a better

option here. In addition, in TA’s counsel’s experience, the EEOC sometimes redacts information


28
     See Exhibit A, Request No. 28.
29
     Exhibit B, Response to Request No. 28.
30
     See Exhibit A, Request No. 37.
31
     See Exhibit B, Response to Request No. 37.


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it produces, the EEOC often withholds documents, and the EEOC does not always retain in its

files every document that a charging party provides to it. Walker has a duty to preserve “what

[he] knows, or reasonably should know, will likely be requested in either pending, or reasonably

foreseeable litigation.” Anderson v. Sullivan, No. 1:07-cv-111-SJM, 2013 U.S. Dist. LEXIS

116086, at *11 (W.D. Pa. Aug. 16, 2013); Zubulake v. UBS Warburg LLC, 220 F.R.D. 212

(S.D.N.Y. 2003); see also Winters v. Textron, Inc., 187 F.R.D. 518, 520 (M.D. Pa. 1999) (“A

duty to preserve evidence, independent from a court order to preserve evidence, arises when

there is (1) pending or probable litigation involving the defendant; (2) knowledge of the

existence or likelihood of litigation, (3) foreseeable prejudice to the other party if the evidence

were to be discarded and (4) evidence relevant to the litigation”). Walker should be compelled

to produce all documents he provided to or received from the EEOC.

         Request No. 44 sought Walker’s tax returns or, alternatively, a signed release from

Walker allowing TA to obtain his tax returns on its own from the IRS. 32 Although Walker

responded that he does have any such documents, he failed to sign the release necessary for TA

to obtain them from the IRS. 33 Because a request for an authorization is proper under Rule 34,

Walker is required to execute the release provided by TA. See Washam v. Evans, No.

2:10CV00150 JLH, 2011 WL 2559850, at *2 (E.D. Ark. June 29, 2011) (citing J.J.C. v. Fridell,

165 F.R.D. 513, 517 (D. Minn. 1995) (“Requests for authorizations for the release of . . . records

can be properly ordered pursuant to Rule 34 . . . .”). Walker may not skirt his obligation to

produce documents in response to Request Nos. 28, 37, and 44 by simply telling TA to find them

elsewhere. Thus, an Order compelling the production of these items is necessary.



32
     See Exhibit A, Request No.44.
33
     See Exhibit B, Response to Request No. 44.


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         Finally, Walker objected to Request Nos. 31 and 32 on the basis of the “collateral source

rule.” 34 These requests sought the amount and source of income received by Walker since his

voluntary termination from TA. This information is relevant to Walker’s alleged damages and

his mitigation efforts. Because the collateral source rule is not a valid objection to a discovery

request under Rule 34, Walker’s response is misplaced. See Hofer, 981 F.2d at 380. The Court

should order Walker to produce these materials.

III.     CONCLUSION

         Walker’s responses to TA’ First Set of Interrogatories and Requests for Production are

insufficient to meet his discovery obligations under Rule 26. Thus, TA requests that the Court

issue an Order compelling Walker to:

         •   supplement Walker’s answer to TA’s Interrogatory No. 1 to include complete contact
             information for all of the potential witnesses identified and provide a summary of
             each witness’ relevant personal knowledge;

         •   remove his objection to Interrogatory No. 12 and provide responsive information;

         •   supplement his answer to Interrogatory Nos. 16 and 17 regarding electronically stored
             information;

         •   verify his interrogatory answer;

         •   produce electronically stored information and related materials in response to Request
             for Production Nos. 3, 4, 5, 6, 7, and 8;

         •   produce documents he provided to or received from the Arkansas Department of
             Workforce Services, the Equal Employment Opportunity Commission, and the
             Internal Revenue Service (or to execute and return the IRS release provided with
             TA’s discovery requests) in response to Request for Production Nos. 27, 28, and 44;
             and

         •   remove his objection to Request for Production Nos. 31 and 32 and produce
             documents related to his alleged damages and mitigation efforts.

TA also requests that the Court grant it any additional relief it deems necessary.

34
     Exhibit B, Responses to Request Nos. 31 and 32.


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                                CERTIFICATE OF SERVICE

       I certify that on March 19, 2015, I electronically transmitted the attached document to the
Clerk of Court using the ECF System for filing. Based on the records currently on file, the Clerk
of Court will transmit a Notice of Electronic Filing to the following ECF registrants:

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